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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

 Case No.        8:20-cv-02106-WDK-JC                            Date       April 23, 2021
 Title           G and G Closed Circuit Events, LLC v. Juana Francis Sanchez Bolanos


 Present         The Honorable William D. Keller, Senior United States District Judge
                 Patricia Gomez                                           None
                Courtroom Deputy                                      Court Reporter

       Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                      None                                                   None
 Proceedings:           (In Chambers) ORDER TO SHOW CAUSE

      Pursuant to the Mediation Report issued March 24, 2021 (DE [18]), this case was
completely settled and counsel were to file a stipulated dismissal. The dismissal has not
been filed.

      Plaintiff’s counsel is to file the stipulated dismissal no later than May 24,
2021, or notify the Court if settlement is no longer feasible.

 Plaintiff's counsel is ordered to serve this minute order on all defendants within 24
                           hours from the date of this order.

         IT IS SO ORDERED.

                                                     Initials of Preparer              pg




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